                   UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

                               ___________________

                                   No: 22-3593
                               ___________________

                         Associated Electric Cooperative, Inc.

                                               Petitioner

                                          v.

                        Federal Energy Regulatory Commission

                                            Respondent

                                Southwest Power Pool

                                          Intervenor
                               ___________________

                                   No: 23-1285
                               ___________________

                         Associated Electric Cooperative, Inc.

                                               Petitioner

                                          v.

                        Federal Energy Regulatory Commission

                                            Respondent

                                Southwest Power Pool

                                        Intervenor
______________________________________________________________________________

       Petitions for Review of an Order of the Federal Energy Regulatory Commission
                                       (EL22-54-000)
______________________________________________________________________________




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                                          JUDGMENT


Before COLLOTON, Chief Judge, MELLOY, and GRUENDER, Circuit Judges.


       These causes were submitted on petitions for review of orders from the Federal Energy

Regulatory Commission, on the original record and briefs of the parties and were argued by

counsel

       After consideration, it is hereby ordered and adjudged that the petitions for review are

denied in accordance with the opinion of this court.

                                                       August 05, 2024




Order Entered in Accordance with Opinion:
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




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